      Case 2:21-cr-00318-JNP Document 6 Filed 08/11/21 PageID.9 Page 1 of 6




 ANDREA T. MARTINEZ, Acting United States Attorney (#9313)
 KARIN M. FOJTIK, Assistant United States Attorney (#7527)
 Attorneys for the United States of America
 Office of the United States Attorney
 111 South Main Street, Suite 1800
 Salt Lake City, Utah 84111-2176
 Telephone: (801)524-5682
________________________________________________________________________

                    IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF UTAH


 UNITED STATES OF AMERICA,                     UNITED STATES’ POSITION
                                               REGARDING DETENTION
                Plaintiff,

 v.

 JEREMY LEE REED,                              Case No. 2:21cr318 JNP

                Defendant.



☐       The United States is not seeking detention.

☒      The United States moves for detention based on current information. The United
States’ positions in this preliminary pleading could change after reviewing the Pretrial
Report or learning of additional evidence. The United States reserves the right to assert
positions even if the boxes next to those positions are not checked below, raise additional
arguments, and file additional pleadings in support of detention. The United States’
motion for detention is:

☒ Pursuant to 18 U.S.C. § 3142(f)(1) because defendant is charged with:
        ☐ (A) a crime of violence (see 18 U.S.C. § 3156(a)(4)), a violation of 18 U.S.C.
          § 1591 (sex trafficking of children), or an offense under § 2332b(g)(5)(B)
          (specific enumerated crimes) for which a maximum term of imprisonment of
          10 years or more is prescribed; or
        ☐ (B) an offense for which the maximum sentence is life imprisonment or death;
          or
        ☐ (C) an offense for which a maximum term of imprisonment of 10 years or
   Case 2:21-cr-00318-JNP Document 6 Filed 08/11/21 PageID.10 Page 2 of 6




          more is prescribed in the Controlled Substances Act (21 U.S.C. §§ 801-904),
          the Controlled Substances Import and Export Act (21 U.S.C. §§ 951-971), or
          Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
      ☐ (D) any felony if the defendant has been convicted of two or more offenses
        described in (a) through (c) above, or two or more State or local offenses that
        would have been offenses described in (a) through (c) above if a circumstance
        giving rise to Federal jurisdiction had existed, or a combination of such
        offenses; or
      ☒ (E) any felony that is not otherwise a crime of violence but involves: (i) a
        minor victim; (ii) the possession or use of a firearm or destructive device (as
        defined in 18 U.S.C. § 921); (iii) any other dangerous weapon; or (iv) a failure
        to register under 18 U.S.C. § 2250;


               OR

☐ Pursuant to 18 U.S.C. § 3142(f)(2) because the case involves:

      ☐ (A) a serious risk the defendant will flee; or
      ☐ (B) a serious risk the defendant will obstruct or attempt to obstruct justice, or
        threaten, injure, intimidate, attempt to threaten, injure or intimidate a
        prospective witness or juror.


                                   Procedure

       The defendant may seek a continuance of the detention hearing of up to five days,
and the United States may seek a continuance of up to three days. 18 U.S.C. § 3142(f).
During any such continuance, the defendant shall be detained. Id. The rules concerning
the admissibility of evidence do not apply at the detention hearing. Id. The United States
has the burden of persuasion by clear and convincing evidence that no condition or
combination of conditions of release will reasonably the safety of any other person and
the community or by a preponderance of evidence that no condition or combination of
conditions of release will reasonably assure the defendant’s appearance as required. Id.;
United States v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003).


                               Rebuttable Presumption

☒ A rebuttable presumption applies and the defendant bears the burden to produce some
  credible evidence to rebut this presumption. The United States acknowledges that it


                                            2
   Case 2:21-cr-00318-JNP Document 6 Filed 08/11/21 PageID.11 Page 3 of 6




   retains the burden of persuasion. The statutory presumption applies:
      ☐ Pursuant to 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
       presumption that no condition or combination of conditions will reasonably
       assure the safety of any other person and the community because:
            (A) the defendant has previously been convicted of a Federal offense that is
                described in 18 U.S.C. § 3142(f)(1), or of a State or local offense that
                would have been such an offense if a circumstance giving rise to
                Federal jurisdiction had existed; and
            (B) the defendant committed that offense while on release pending trial for
                a Federal, State, or local offense; and
            (C) a period of not more than five years has elapsed since the date of
                conviction, or the release of the defendant from imprisonment, for that,
                whichever is later.
      ☒ Pursuant to 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There
        is a rebuttable presumption that no condition or combination of conditions will
        reasonably assure the appearance of the defendant as required and the safety of
        the community because there is probable cause to believe that the defendant
        committed one or more of the following offenses:
         ☐ (A) an offense for which a maximum term of imprisonment of 10 years or
             more is prescribed in the Controlled Substances Act (21 U.S.C. §§ 801-
             904), the Controlled Substances Import and Export Act (21 U.S.C. §§ 951-
             971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
         ☐ (B) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
           ☐ (C) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum
             term of imprisonment of 10 or more is prescribed;
           ☐ (D) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-
             1597) for which a maximum term of imprisonment of 20 years or more is
             prescribed; or
           ☒ (E) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591,
             2241, 2242, 2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2),
             2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260,
             2421, 2422, 2423, or 2425.



                              Factors to Be Considered

        The United States may present arguments, proffer evidence, or provide testimony
at the scheduled detention hearing supporting the detention of the defendant including,

                                           3
   Case 2:21-cr-00318-JNP Document 6 Filed 08/11/21 PageID.12 Page 4 of 6




but not limited to:
☒ The nature and circumstances of the offense charged, including whether the offense is
  a crime of violence, a violation of section 1591, a Federal crime of terrorism, or
  involves a minor victim or a controlled substance, firearm or destructive device. (18
  U.S.C. § 3142(g)(1)).

During April and May 2021, law enforcement was working in an undercover capacity on Telegram.
Law enforcment’s undercover persona was that of a father looking to find other parents willing to
engage in sexual activity with his 9 year old daughter.

Telegram user “JR” (later identified as Jeremy Reed, reached out to the law enforcement persona
in the “utahperv” telegram group and engaged in a discussion with the undercover law
enforcement officer in the group. Reed started the conversation in the chatroom by asking, “Hi,
really into incest?”

During the chat over the next two weeks, “JR” distributed two videos depicting the sexual abuse of
children. He also described sexually abusing a 5 year old female relative.

Law enforcement obtained a search warrant for Reed’s address and executed the warrant on July
15, 2021. At the time of the execution of the warrant Jeremy Reed was on state probation.

The search warrant uncovered two cellphones and search of the phones uncovered thousands of
images depicting the sexual abuse of children, including images that depicted the abuse of children
under the age of 12.

Reed was provided miranda rights, he waived his rights and admitted he had used Telegram to chat
and admitted that he had also used Kik to look for sexual images of children. He also recalled
talking to a man with a 9 year old daughter in the past.


☒ The weight of evidence against the defendant. (18 U.S.C. § 3142(g)(2)).

   The weight against the defendant is strong, the United States has forensic review of
   the digital media seized, the relevant chat conversations, and the defendant’s post-
   miranda admissions.

☒ The history and characteristics of the defendant including the defendant’s character,
  physical and mental condition, family ties, employment, financial resources, length of
  residence in the community, community ties, past conduct, history relating to drug or
  alcohol abuse, criminal history and record concerning court proceedings. (18 U.S.C.
  § 3142(g)(3)(A)).


Reed has a 2015 conviction 2nd Degree forcible sexual abuse of a child and was on
   probation at the time of this offense.

                                                 4
   Case 2:21-cr-00318-JNP Document 6 Filed 08/11/21 PageID.13 Page 5 of 6




☐ Whether, at time of the current offense or arrest, the defendant was on probation,
  parole, or other release pending trial, sentencing, appeal, or completion of sentence
  for an offense under Federal, State, or local law. (18 U.S.C. § 3142(g)(3)(B)).
☒ The nature and seriousness of danger to any person or to the community that would
  be posed by the defendant’s release. (18 U.S.C. § 3142(g)(4)).


The nature of the chats and Mr. Reed’s prior conviction establish he is a danger to all
   children in the community.
☐ The defendant’s lack of legal status in the United States. The defendant’s legal status
  is:
☐ How the defendant would be subject to removal or deportation after serving a period
  of incarceration.
☐ The defendant’s significant family or other ties outside of the United States.
☐ The defendant’s use of aliases or false documents.
☐ The defendant’s prior attempts to evade law enforcement.
☐ How the defendant’s proposed residence, employment, or proposed treatment
  programs have not been verified.
☐ The defendant’s prior failures to appear for court proceedings.

☐ Other reasons including:

                                   Victim Notification

☐ The United States has notified any identified victim, or attempted to do so, pursuant
  to 18 U.S.C. § 3771.

       ☐ The victim in this matter seeks a no contact order.

☒ This matter does not involve a victim requiring notification.


DATED this 11th day of August, 2021.

/s/ Karin M. Fojtik

Karin M. Fojtik
Assistant United States Attorney


                                             5
Case 2:21-cr-00318-JNP Document 6 Filed 08/11/21 PageID.14 Page 6 of 6




                                  6
